Case:18-04122-MCF13 Doc#:52 Filed:09/18/19 Entered:09/18/19 11:05:03               Desc: Main
                           Document Page 1 of 5

                          IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF PUERTO RICO


      IN RE:                                               *    CASE NO. 18-04122 (MCF)
      DOMINGO RIBOT RUIZ                                   *
      Debtor(s)                                            *    CHAPTER 13
      --------------------------------------------------   *

                              OBJECTION TO CONFIRMATION OF PLAN

       TO THE HONORABLE COURT:

              COMES NOW, COOPERATIVA DE AHORRO Y CREDITO ROOSEVELT

       ROADS, hereinafter Cooperativa, through its undersigned attorneys and very respectfully

       to states and prays:

              1. On July 20th, 2018, Debtor filed a petition for relief under Chapter 13 of the

       Bankruptcy Code.

          2. On September 4th, 2018, Cooperativa, a secured creditor of Debtor, filed Claim

       4 in the amount of $134,702.14 (Claims Register, Claim 4), holding a duly registered

       mortgage lien over a commercial property of Debtor, described in the Registry of the

       Property as follows:

              ---URBANA: Solar radicado en la Urbanización Baralt, situada en el
              Barrio Quebrada Fajardo, del término municipal de Fajardo, que se
              describe en el plano de inscripción con el número J-8, con un área de
              TRESCIENTOS CATORCE METROS CUADRADOS (314.00 m/c). En
              lindes por el NORTE, en una distancia de 26.20 metros, con el solar
              número 9; por el SUR, en una distancia de 24.95 metros, con el solar
              número 7; por el ESTE, en una distancia de 12.25 metros, con la calle
              principal; y por el OESTE, en una distancia de 12.31 metros, con Best
              Builders, Inc.

              ---Enclava una casa de concreto reforzado.

              ---Consta inscrita al folio 91 del tomo 474 de Fajardo, finca #3851A,
              inscripción decimotercera.
Case:18-04122-MCF13 Doc#:52 Filed:09/18/19 Entered:09/18/19 11:05:03                   Desc: Main
                           Document Page 2 of 5
       Objection to Confirmation of Plan
       18-04122 (MCF)



                3. On August 8th, 2019, Cooperativa filed an objection to Debtor’s Chapter 13 plan

       dated March 5th, 2019, (Docket Entry No. 50), since it fails to provide adequate protection

       payments and it also fails to provide for the full and complete payment of pre-petition

       arrears owed to Cooperativa. Also, the plan requests that this Honorable Court determines

       the value of Cooperativa’s secured claim. The debtor indicates that the estimated value of

       Coopeartiva’s secured claim and its collateral is $90,000.00 without providing any evidence

       of the value of Cooperativa’s collateral. The plan also fails to provide interest rate payments

       as stated in the mortgage note.

                4. Mr. Felipe R. Ortiz del Valle, State Certified General Appraiser, has issued an

       appraisal report on Cooperativa’s collateral previously described on paragraph 2. On

       September12th, 2019, Mr. Ortiz del Valle prepared an Appraisal Report that establishes the

       value of the property at $150,000.00. See Exhibit A, Appraisal Report.

                5. On March 31st, 2019, the Chapter 13 Trustee filed an unfavorable recommendation

       for the confirmation of Debtor’s Chapter 13 plan. (Docket No. 39). As of this date, Debtor

       has not filed an amended plan. A Confirmation Hearing has been scheduled for October

       17th, 2019. (Docket No. 44).

                6. The plan fails to comply with section 1325 (a) (5) of the Bankruptcy Code, since

       it does not provide for adequate protection payments and for the complete and full payment

       of Cooperativa’s secured amended claim.

                7. Section 1325 (a) (5) states as follows:

                          “…(a) Except as provided in subsection (b), the court shall confirm a plan if-
                          …
                          (5) with respect to each allowed secured claim provided for by the plan—

                                                         2
Case:18-04122-MCF13 Doc#:52 Filed:09/18/19 Entered:09/18/19 11:05:03                         Desc: Main
                           Document Page 3 of 5
       Objection to Confirmation of Plan
       18-04122 (MCF)


                          (A) the holder of such claim has accepted the plan;
                          (B) (i) the plan provides that
                                    (I) the holder of such claim retain the lien securing such claim until
                          the earlier of –
                                        (aa) the payment of the underlying debt determined under
                                   nonbankruptcy law; or
                                       (bb) discharge under section 1328; and;
                                   (II) if the case under this chapter is dismissed or converted without
                                   completion of the plan, such lien shall also be retained by such holder
                                   to the extent recognized by applicable nonbankruptcy law; and
                              (ii) the value, as of the effective date of the plan, of property to be
                          distributed under the plan on account of such claim is not less than the
                          allowed amount of such claim; and
                            (iii) if-
                                 (I) property to be distributed pursuant to this subsection is in the form of
                          periodic payments, such payments shall be in equal amounts; and
                                (II) the holder of the claim is secured by personal property, the amount
                          of such payments shall not be less than an amount sufficient to provide to the
                          holder of such claim adequate protection during the period of the plan…”.


                8. See: In re Butler, 403 B.R. 5, (Bankr. D. Ariz.2009) stating that pursuant to

       section 1325(a)(5)(B)(iii)(I), “…the debtor must propose a plan that provides for equal

       monthly payments to that secured creditor. Those proposed plan payments to that secured

       creditor cannot be less than an amount sufficient to provide adequate protection to the

       creditor      during       the      period   of   the   plan…”. The   purpose    of    section   1325

       (a)(5)(B)(iii)(I) “…is to make sure that creditors whose claims secured by personal

       property remain adequately protected during the period of the plan or until the creditor’s

       claim is paid in full…”.

                9. Simply stated, Debtor’s proposed plan fails to comply with sections

       §1325(a)(5)(B)(iii)(I) and §1325 (a) (6), since the plan fails to provide adequate protection

       payments and equal monthly mortgage payments to Cooperativa as stated in the mortgage

       deed and promissory note.

                                                               3
Case:18-04122-MCF13 Doc#:52 Filed:09/18/19 Entered:09/18/19 11:05:03                Desc: Main
                           Document Page 4 of 5
       Objection to Confirmation of Plan
       18-04122 (MCF)


                10. Cooperativa respectfully requests a valuation hearing in order for this Honorable

       Court to determine the value of Cooperativa’s collateral.

                WHEREFORE, Cooperativa respectfully requests this Motion be granted denying

       confirmation of Debtors’ Chapter 13 Plan, and an Order scheduling a valuation hearing to

       determine the value of Cooperativa’s collateral.


                RESPECTFULLY SUBMITTED

                CERTIFICATE OF MAILING: I electronically filed the foregoing “Objection to
      Confirmation of Plan” with the Clerk of the Court using the CM/ECF system which will
      send notification of such filing to all CM/ECF participants: Jesus E. Batista Sanchez, Esq.;
      Jose R. Carrion Morales, Chapter 13 Trustee; through certified U.S. Mail to: Debtor at
      Barriada Obrera, 254 Calle Jorge Bird Diaz, Fajardo, P.R. 00738; Jesus E. Batista Sanchez,
      Esq., at P.O. Box 191059, San Juan, PR 00919; Jose R. Carrion Morales, Chapter 13
      Trustee at P.O. Box 9023884, San Juan, PR 00902-3884; and to non CM/ECF participants
      all creditors and parties in interest through First Class, U.S. Mail as per the attached master
      list.

                In San Juan, Puerto Rico, this 18th day of September, 2019.

                                            /s/    CARLOS A. QUILICHINI PAZ
                                                   USDC-PR 120906
                                                   JESSICA M. QUILICHINI ORTIZ
                                                   USDC-PR 223803
                                                    Attorneys for Appearing Party
                                                    P.O. Box 9020895
                                                    San Juan, PR 00902-0895
                                                    Phone 787-729-1720
                                                    Fax 787-724-6000
                                                    quilichinipazc@microjuirs.com




                                                      4
            Case:18-04122-MCF13 Doc#:52 Filed:09/18/19 Entered:09/18/19 11:05:03           Desc: Main
Label Matrix for local noticing    COOP A/C ROOSEVELT ROADSPage 5 of 5
                                        Document                       POPULAR AUTO
0104-3                                   PO BOX 31                          PO BOX 366818
Case 18-04122-MCF13                      FAJARDO, PR 00738-0031             SAN JUAN, PR 00936-6818
District of Puerto Rico
Old San Juan
Wed Sep 18 11:01:57 AST 2019
US Bankruptcy Court District of P.R.     ANDRES LOPEZ CALDERON              COOP A/C ROOSEVELT ROAD
Jose V Toledo Fed Bldg & US Courthouse   URB. BARALT AVENIDA PRINCIPAL J8   PO BOX 31
300 Recinto Sur Street, Room 109         FAJARDO, PR 00738-3771             FAJARDO, PR 00738-0031
San Juan, PR 00901-1964


CRIM                                     DEPARTAMENTO DE HACIENDA           DEPARTMENT OF TREASURY
PO Box 195387                            PO Box 9024140                     BANKRUPTCY SECTION 424 B
San Juan, PR 00919-5387                  San Juan, PR 00902-4140            PO BOX 9024140
                                                                            SAN JUAN, PR 00902-4140


EMILIANO ROSA H/N/C TALLER JUNIOR        FIRST PREMIER                      GILBERTO RODRIGUEZ PAGAN
PO Box 380                               3820 N. LOUISE AVE.                URB. BARALT AVENIDA PRINCIPAL J8
Palmer, PR 00721-0380                    SIOUX FALLS, SD 57107-0145         FAJARDO, PR 00738-3771



INTERNAL REVENUE SERVICE                 Lcdo. CARLOS A. QUILICHINI PAZ     Midland Funding LLC
DEPARTMENT OF TREASURY                   351 TETUAN                         PO Box 2011
INTERNAL REVENUE SERVICE                 SAN JUAN, PR 00901-1934            Warren, MI 48090-2011
PHILADELPHIA, PA 19154


NILDA L. GARAY                           POPULAR AUTO                       POPULAR AUTO
P.O. BOX 380                             BANKRUPTCY DEPARTMENT              PO Box 362708
PALMER, PR 00721-0380                    PO BOX 366818                      San Juan, PR 00936-2708
                                         SAN JUAN PUERTO RICO 00936-6818


POPULAR AUTO, LLC.                       SYNCB/WALMART                      DOMINGO RIBOT RUIZ Jr.
ALTAMIRA POPULAR CENTER                  PO Box 530927                      BARRIADA OBRERA
1901 AVE. JESUS T PINERO 445             Atlanta, GA 30353-0927             254 CALL JORGE BIRD DIAZ
SAN JUAN, PR 00920-5621                                                     FAJARDO, PR 00738


JESUS ENRIQUE BATISTA SANCHEZ            JOSE RAMON CARRION MORALES         MONSITA LECAROZ ARRIBAS
THE BATISTA LAW GROUP, PSC               PO BOX 9023884                     OFFICE OF THE US TRUSTEE (UST)
P.O. Box 191059                          SAN JUAN, PR 00902-3884            OCHOA BUILDING
SAN JUAN, PR 00919-1059                                                     500 TANCA STREET SUITE 301
                                                                            SAN JUAN, PR 00901

NOEMI CARABALLO LOPEZ                    End of Label Matrix
PO BOX 43002                             Mailable recipients      24
RIO GRANDE, PR 00745-6601                Bypassed recipients       0
                                         Total                    24
